          Case 23-10576-TMH   Doc 641-2   Filed 09/15/23   Page 1 of 16




                       EXHIBIT A




7458365
             Case 23-10576-TMH      Doc 641-2       Filed 09/15/23    Page 2 of 16




                       Timekeeper Summary For Monthly Period
                           August 1, 2023 – August 16, 2023


          Timekeeper             Position                Rate        Hours     Amount
                        Principal in Bankruptcy
                        Department since 2003,
   Warren J. Martin Jr. Member of NJ Bar 1986           $1,095        14.30     $15,658.50
                        Principal in Bankruptcy
                        Department since 2020,
     Rachel A. Parisi   Member of NJ Bar 2011            $735          4.30      $3,160.50
                        Associate in Bankruptcy
                        Department Since 2017
   Christopher P. Mazza Member of NJ Bar 2017            $550          6.30      $3,465.00
                          Paralegal in Bankruptcy
     Maria P. Dermatis    Department since 2009          $350          2.10          $735.00
                          Paralegal in Bankruptcy
    Jessica M. O'Connor   Department since 2020          $315          2.00          $630.00
                                Totals                                29.00     $23,649.00
                                  Blended Rate:         $815.48




7458365
           Case 23-10576-TMH       Doc 641-2    Filed 09/15/23   Page 3 of 16




                     Compensation By Category for Monthly Period
                          August 1, 2023 – August 16, 2023

                     Project Category                    Total        Total Fees
                                                         Hours
     Asset Analysis and Recovery                               .5           $547.50
     Asset Disposition                                       1.0          $1,095.00
     Avoidance Action Litigation                               .3           $328.50
     Case Administration                                       .4           $214.50
     Claims Administration and Objections                    3.7          $3,727.50
     Fee/Employment Applications                             4.0          $2,004.50
     Financing                                               1.0          $1,095.00
     Litigation                                             13.2          $9,811.00
     Meeting of Creditors                                    4.7          $4,678.50
     Relief from Stay Proceedings                              .2           $147.00
                                               Totals:      29.0         $23,649.00




7458365
                      Case 23-10576-TMH              Doc 641-2   Filed 09/15/23    Page 4 of 16
                                                                                       100 SOUTHGATE PARKWAY, PO BOX 1997
                                                                                               MORRISTOWN, NJ 07962-1997
                                                                                                        TEL (973) 538-4006
                                                                                                        FAX (973) 538-5146
                                                                                                        TAX ID: XX-XXXXXXX




                                                                                                   September 11, 2023

Amounts Due to be Paid upon Application to the
United States Bankruptcy Court for the District of                                                   Invoice # 3304031
Delaware



               Re: Christmas Tree Shops, LLC, et al.
     Our Matter # 025783.094982
 Billing Attorney: Warren Martin

                       STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/31/23

                                    Professional Services                           23,649.00
                                           Disbursements                             1,363.50
                        TOTAL CURRENT INVOICE                                      $25,012.50

                                    Previous Balance Due                           185,393.95

                              TOTAL BALANCE DUE                                   $210,406.45




                           Please make check payable to Porzio, Bromberg & Newman, P.C.


                                   REMITTANCE PAGE
                      Case 23-10576-TMH              Doc 641-2   Filed 09/15/23    Page 5 of 16
                                                                                       100 SOUTHGATE PARKWAY, PO BOX 1997
                                                                                               MORRISTOWN, NJ 07962-1997
                                                                                                        TEL (973) 538-4006
                                                                                                        FAX (973) 538-5146
                                                                                                        TAX ID: XX-XXXXXXX




                                                                                                   September 11, 2023

Amounts Due to be Paid upon Application to the
United States Bankruptcy Court for the District of                                                   Invoice # 3304031
Delaware



               Re: Christmas Tree Shops, LLC, et al.
     Our Matter # 025783.094982
 Billing Attorney: Warren Martin


AGGREGATE TIME SUMMARY BY TASK CODE


Task Code                       Task Description                                    Total Hours         Total Amount
ASSTANAL                        Asset Analysis and Recovery                                0.50                547.50
ASSTDISP                        Asset Disposition                                          1.00              1,095.00
AVOIDNCE                        Avoidance Action Litigation                                0.30                328.50
CASEADMN                        Case Administration                                        0.40                214.50
CLAIMS                          Claims Administration and Objections                       3.70              3,727.50
FEEAPPS                         Fee/Employment Applications                                4.00              2,004.50
FINANCE                         Financing                                                  1.00              1,095.00
LITIGATE                        Litigation (other than Avoidance Action                   13.20              9,811.00
                                Litigation
MEETCOM                         Meetings and Communications with Creditors                  4.70              4,678.50
RELIEF                          Relief from Stay Proceedings                                0.20                147.00
Total                                                                                      29.00             23,649.00

AGGREGATE TIME SUMMARY BY TASK CODE BY TIMEKEEPER


Task Code           Timekeeper                       Title           Total Hours    Hourly Rate                    Total

Asset Analysis and Recovery

ASSTANAL         Martin, W.                          Principal              0.50        1,095.00                 547.50
Asset Analysis and Recovery
Total                                                                       0.50                                 547.50

Asset Disposition

ASSTDISP            Martin, W.                       Principal              1.00        1,095.00               1,095.00
                   Case 23-10576-TMH      Doc 641-2        Filed 09/15/23    Page 6 of 16
Our Matter # 025783.094982                                                                  September 11, 2023
Invoice #3304031                                                                                        Page:2


Task Code        Timekeeper              Title                 Total Hours    Hourly Rate               Total
Asset Disposition
Total                                                                 1.00                           1,095.00

Avoidance Action Litigation

AVOIDNCE       Martin, W.                Principal                    0.30       1,095.00              328.50
Avoidance Action Litigation
Total                                                                 0.30                             328.50

Case Administration

CASEADMN         Martin, W.              Principal                    0.10       1,095.00              109.50
                 Dermatis, M. P.         Paralegal - 2 -              0.30         350.00              105.00
                                         Senior Level
Case Administration
Total                                                                 0.40                             214.50

Claims Administration and Objections

CLAIMS         Martin, W.                Principal                    2.80       1,095.00            3,066.00
               Parisi, R. A.             Principal                    0.90         735.00              661.50
Claims Administration and Objections
Total                                                                 3.70                           3,727.50

Fee/Employment Applications

FEEAPPS          Martin, W.              Principal                    0.20       1,095.00              219.00
                 Mazza, C. P.            Associate 1                  2.40         550.00            1,320.00
                 Dermatis, M. P.         Paralegal - 2 -              0.70         350.00              245.00
                                         Senior Level
                 OConnor, J. M.          Paralegal - 2 -              0.70         315.00              220.50
                                         Senior Level
Fee/Employment Applications
Total                                                                 4.00                           2,004.50

Financing

FINANCE          Martin, W.              Principal                    1.00       1,095.00            1,095.00
Financing
Total                                                                 1.00                           1,095.00

Litigation (other than Avoidance Action Litigation

LITIGATE         Martin, W.              Principal                    5.00       1,095.00            5,475.00
                 Mazza, C. P.            Associate 1                  3.90         550.00            2,145.00
                   Case 23-10576-TMH       Doc 641-2        Filed 09/15/23    Page 7 of 16
Our Matter # 025783.094982                                                                   September 11, 2023
Invoice #3304031                                                                                         Page:3


Task Code        Timekeeper              Title                  Total Hours    Hourly Rate               Total
                 Dermatis, M. P.         Paralegal - 2 -               1.10        350.00               385.00
                                         Senior Level
                  Parisi, R. A.          Principal                     1.90         735.00            1,396.50
                  OConnor, J. M.         Paralegal - 2 -               1.30         315.00              409.50
                                         Senior Level
Litigation (other than Avoidance Action Litigation
Total                                                                 13.20                           9,811.00

Meetings and Communications with Creditors

MEETCOM        Martin, W.             Principal                        3.40       1,095.00            3,723.00
               Parisi, R. A.          Principal                        1.30         735.00              955.50
Meetings and Communications with Creditors
Total                                                                  4.70                           4,678.50

Relief from Stay Proceedings

RELIEF           Parisi, R. A.            Principal                    0.20         735.00              147.00
Relief from Stay Proceedings
Total                                                                  0.20                             147.00


Total                                                                 29.00                          23,649.00


AGGREGATE TIME SUMMARY PAGE BY INDIVIDUAL

0080         Martin, W.                   Principal                   14.30       1,095.00           15,658.50
1982         Mazza, C. P.                 Associate 1                  6.30         550.00            3,465.00
2002         Dermatis, M. P.              Paralegal - 2 -              2.10         350.00              735.00
                                          Senior Level
2268         Parisi, R. A.                Principal                    4.30         735.00            3,160.50
2624         OConnor, J. M.               Paralegal - 2 -              2.00         315.00              630.00
                                          Senior Level
             Total                                                    29.00                          23,649.00
                    Case 23-10576-TMH         Doc 641-2        Filed 09/15/23     Page 8 of 16
Our Matter # 025783.094982                                                                       September 11, 2023
Invoice #3304031                                                                                             Page:4



Time Detail


Date          Description                                 Initials     Task Code         Hours               Value
08/14/23      Review CTS D&O insurance policies             WJM        ASSTANAL           0.50              547.50
              received from Debtors.
                                                                ASSTANAL Total            0.50              547.50

08/02/23      Confer with G. Galardi regarding status      WJM         ASSTDISP           0.40              438.00
              of GOB sale effort and whether or not
              Restore will be paid in full on junior
              position in DIP Loan (.2); telephone
              conference with M. Power regarding
              potential buyers continuing interest and
              at what level (.2).
08/04/23      Email to S. Fox regarding disposition of     WJM         ASSTDISP           0.20              219.00
              leases/retention of A&G.
08/14/23      Telephone conference with M. Power           WJM         ASSTDISP           0.40              438.00
              regarding purchase of lease (.2); review
              correspondence from M. Power
              regarding same (.2).
                                                                     ASSTDISP Total       1.00            1,095.00

08/04/23      Confer with C. Mazza regarding               WJM         AVOIDNCE           0.30              328.50
              avoidance/fraudulent conveyance portion
              of adversary complaint challenging liens
              of allegedly secured creditor.
                                                                AVOIDNCE Total            0.30              328.50

08/04/23      Emails from and to S. Fox regarding          WJM         CASEADMN           0.10              109.50
              scheduling.
08/14/23      Download and circulate Notice of             MPD         CASEADMN           0.20               70.00
              Agenda for hearing on 8.16.23 and
              request attendance information.
08/15/23      Follow up e-mail to team regarding           MPD         CASEADMN           0.10               35.00
              attendance at hearing on 8.16.23.
                                                               CASEADMN Total             0.40              214.50

08/03/23      Review and revise WARN Act memo              WJM         CLAIMS             0.50              547.50
              and analysis for presentation to
              Committee.
08/04/23      Confer with C. Mazza regarding claims        WJM         CLAIMS             0.30              328.50
              objection portion of adversary complaint.
08/11/23      Meeting regarding WARN act issues            RAP         CLAIMS             0.90              661.50
08/14/23      Telephone conferences with Mark              WJM         CLAIMS             0.40              438.00
                   Case 23-10576-TMH        Doc 641-2       Filed 09/15/23     Page 9 of 16
Our Matter # 025783.094982                                                                    September 11, 2023
Invoice #3304031                                                                                          Page:5


Date        Description                                Initials    Task Code          Hours              Value
            Conlan regarding WARN Act claims.
08/15/23    Work with Gibbons firm on preserving        WJM        CLAIMS              1.60            1,752.00
            Pathlight claims for the benefit of
            WARN Act/Employee claimants
            including analysis of Final DIP Order
            (.6); working up language (.5);
            conference call with Mark Conlan and
            team at Gibbons (.5).
                                                                   CLAIMS Total        3.70            3,727.50

08/02/23    Draft CNO to May Monthly Fee                JMO        FEEAPPS             0.10               31.50
            Statement of PBN
08/02/23    Emails to and from W. Martin, Jr., R.       JMO        FEEAPPS             0.30               94.50
            Schechter, and R. Parisi regarding draft
            CNOs to May and June Monthly Fee
            Statements of PBN
08/02/23    Draft CNO to June Monthly Fee               JMO        FEEAPPS             0.10               31.50
            Statement of PBN
08/07/23    Prepare Third monthly fee statement for     MPD        FEEAPPS             0.50              175.00
            Porzio.
08/08/23    Emails from and to W. Martin, Jr.           JMO        FEEAPPS             0.20               63.00
            regarding filed CNOs to May and June
            Monthly Fee Statements of PBN
08/09/23    Review and authorize CNO filings.           WJM        FEEAPPS             0.20              219.00
08/11/23    Review e-mail from W. Martin, Jr. and       MPD        FEEAPPS             0.20               70.00
            prepare invoice for processing of
            Porzio's First and Second Monthly Fee
            Statements.
08/16/23    Assist with preparing July monthly fee      CPM        FEEAPPS             2.40            1,320.00
            application.
                                                                  FEEAPPS Total        4.00            2,004.50

08/10/23    Email to Committee Team (.3) and then       WJM        FINANCE             0.40              438.00
            Debtor (.1) regarding preserving carved
            out funds in connection with conversion.
08/14/23    Review proposed language and Final          WJM        FINANCE             0.30              328.50
            DIP Order.
08/15/23    Emails to and from Evelyn regarding         WJM        FINANCE             0.30              328.50
            preserving carve out funds.
                                                                  FINANCE Total        1.00            1,095.00

08/01/23    Email to S. Fox regarding proposal for      WJM        LITIGATE            0.60              657.00
            "best and final" settlement offer from
            Committee.
08/02/23    Compose email to S. Fox per committee       WJM        LITIGATE            0.30              328.50
                  Case 23-10576-TMH         Doc 641-2      Filed 09/15/23     Page 10 of 16
Our Matter # 025783.094982                                                                    September 11, 2023
Invoice #3304031                                                                                          Page:6


Date        Description                                Initials   Task Code          Hours               Value
            directive as to best and final settlement
            offer on Pathlight lien challenge.
08/03/23    Revisions to adversary complaint             CPM      LITIGATE             1.40              770.00
            challenging position of allegedly secured
            creditor (1.0), and confer with team
            regarding same (0.3). Circulate revised
            draft (0.1).
08/03/23    Compile exhibits to Adversary                JMO      LITIGATE             0.70              220.50
            Complaint
08/03/23    Emails from and to C. Mazza regarding        JMO      LITIGATE             0.20               63.00
            Challenge Period deadline
08/03/23    Emails from and to C. Mazza regarding        JMO      LITIGATE             0.20               63.00
            exhibits to complaint
08/04/23    Receive and review comments from W.          CPM      LITIGATE             2.00            1,100.00
            Martin, Jr. related to draft adversary
            complaint challenging liens of allegedly
            secured creditor (0.3), apply revisions to
            draft complaint (0.5), conduct additional
            legal research related to same (0.5),
            review draft motion for derivative
            standing (0.5), and confer with team
            regarding same (0.2).
08/04/23    Emails from and to M. Patterson, M.          JMO      LITIGATE             0.20               63.00
            Ward, and L. Thomas regarding exhibits
            to complaint
08/07/23    Calendar of deadlines relating to            MPD      LITIGATE             0.10               35.00
            Committee' Motion for Standing to
            Bring Adv. Proc.
08/08/23    Review of correspondence between             CPM      LITIGATE             0.50              275.00
            secured lenders, debtors, and committee,
            and review of unredacted version of
            derivative standing motion and
            complaint.
08/08/23    Inquiry from Restore regarding Pathlight WJM          LITIGATE             0.40              438.00
            complaint (.2) and obtain authority from
            Pathlight to share confidentially marked
            documents (.2).
08/10/23    Review motion to shorten time to             WJM      LITIGATE             0.70              766.50
            convert (.4); emails from and to court
            regarding consent to shorten time (.2);
            email to Evelyn regarding preparation
            for conversion (.1).
08/14/23    Review of local rules regarding sharing      MPD      LITIGATE             0.30              105.00
            of documents and information, and
            provide rule to W. Martin, Jr..
                  Case 23-10576-TMH        Doc 641-2     Filed 09/15/23   Page 11 of 16
Our Matter # 025783.094982                                                                September 11, 2023
Invoice #3304031                                                                                      Page:7


Date        Description                               Initials Task Code         Hours                Value
08/14/23    Review and respond to e-mail from W.        MPD LITIGATE              0.50               175.00
            Martin, Jr. regarding requested
            information for sending to Gibbons.
08/15/23    Review e-mail from W. Martin, Jr.           MPD LITIGATE               0.20               70.00
            requesting information in preparation for
            hearing and provide same.
08/15/23    Review and respond to UST emails            RAP LITIGATE               0.40              294.00
            regarding conversion order language
08/16/23    Attend motion to convert hearing            RAP LITIGATE               1.50            1,102.50
08/16/23    Work on language in conversion order        WJM LITIGATE               3.00            3,285.00
            preserving trustee's claim to Pathlight
            litigation (1.2); attend conversion
            hearing and assist M. Ward with
            presentation (1.8).
                                                              LITIGATE Total      13.20            9,811.00

08/01/23    Correspondence regarding CTS                RAP   MEETCOM              0.60              441.00
            committee meeting (0.3); prepare agenda
            (0.2); call with W. Martin, Jr. regarding
            same (0.1)
08/01/23    Review R. Parisi draft agenda for           WJM   MEETCOM              0.30              328.50
            tomorrow's committee meeting (.1);
            emails to and from professionals' team
            regarding suggested edits and finalizing
            same (.2).
08/01/23    Email to professionals' team regarding      WJM   MEETCOM              0.30              328.50
            tomorrow's committee call
            scheduling/adjournment (.1); telephone
            conference with R. Parisi regarding same
            (.1); review R. Parisi responsive email
            update on same (.1).
08/02/23    Prep for CTS UCC call (0.3) attend          RAP   MEETCOM              0.70              514.50
            portion of same (0.4)
08/02/23    Confer with R. Parisi in anticipation of    WJM   MEETCOM              1.00            1,095.00
            creditors' committee meeting today and
            Agenda for same (.2); review Agenda,
            add item regarding Pathlight proposal
            and circulate (.2); with M. Patterson,
            conduct today's committee meeting (.6).
08/09/23    Receive creditor inquiries regarding        WJM   MEETCOM              0.50              547.50
            committee motion on derivative standing
            and attend to sharing exhibits with
            interested parties as permitted.
08/10/23    Inquiry from Committee member               WJM   MEETCOM              0.30              328.50
            regarding administrative burn and
                  Case 23-10576-TMH      Doc 641-2    Filed 09/15/23   Page 12 of 16
Our Matter # 025783.094982                                                             September 11, 2023
Invoice #3304031                                                                                   Page:8


Date        Description                                Initials Task Code     Hours               Value
            conversion (.1) and respond to full
            committee on next steps (.2).
08/11/23    Telephone conference with attorneys for WJM MEETCOM                 0.70              766.50
            largest administrative creditors and walk
            through asset analysis, conversion issues,
            and next steps.
08/15/23    Respond to inquiry from                      WJM MEETCOM            0.30              328.50
            creditor/landlord counsel.
                                                              MEETCOM Total     4.70            4,678.50

08/09/23    Emails regarding Bank of America stay    RAP    RELIEF              0.20              147.00
            relief motion
                                                            RELIEF Total        0.20              147.00


                                                                Fees Total     29.00           23,649.00
                  Case 23-10576-TMH      Doc 641-2     Filed 09/15/23   Page 13 of 16
Our Matter # 025783.094982                                                                September 11, 2023
Invoice #3304031                                                                                      Page:9



Disbursement Summary                                                       Total
Business Meals                                                              9.50
Parking                                                                    61.00
Rail Transportation                                                     1,293.00
Total Disbursements                                                     1,363.50



Disbursement Detail
Date          Description                                                                          Amount
07/06/23      VENDOR: American Express INVOICE#: MARTIN081523 DATE:                                 175.00
              8/18/2023
              Expense Reimbursement - Amtrak to DE to attend Omnibus Hearing in
              Christmas Tree Shop matter.
07/07/23      VENDOR: American Express INVOICE#: MARTIN081523 DATE:                                  304.00
              8/18/2023
              Expense Reimbursement - Amtrak to NJ after attending Omnibus Hearing in
              Christmas Tree Shop matter.
07/07/23      VENDOR: American Express INVOICE#: MARTIN081523 DATE:                                   19.00
              8/18/2023
              Expense Reimbursement - Parking fee in Newark to take Amtrak to DE for
              CTS Hearing.
07/11/23      VENDOR: American Express INVOICE#: MARTIN081523 DATE:                                  191.00
              8/18/2023
              Expense Reimbursement - Amtrak to attend hearing in the Christmas Tree
              Shops in DE.
07/12/23      VENDOR: American Express INVOICE#: MARTIN081523 DATE:                                  407.00
              8/18/2023
              Expense Reimbursement - Amtrak round trip ticket to attend hearing in the
              Christmas Tree Shops in DE and back to NJ.
07/12/23      VENDOR: American Express INVOICE#: MARTIN081523 DATE:                                    3.50
              8/18/2023
              Expense Reimbursement - Cafe car - Christmas Tree Shop
              hearing.
07/12/23      VENDOR: American Express INVOICE#: MARTIN081523 DATE:                                  191.00
              8/18/2023
              Expense Reimbursement - Amtrak from DE to Newark after attending the
              Christmas Tree Shop hearing.
07/12/23      VENDOR: American Express INVOICE#: MARTIN081523 DATE:                                   19.00
              8/18/2023
              Expense Reimbursement - Parking fee in Newark to take Amtrak to DE for
              CTS Hearing.
07/12/23      VENDOR: American Express INVOICE#: MARTIN081523 DATE:                                   25.00
              8/18/2023
              Expense Reimbursement - Amtrak ticket change on trip to DE to attend CTS
                    Case 23-10576-TMH      Doc 641-2        Filed 09/15/23       Page 14 of 16
Our Matter # 025783.094982                                                                       September 11, 2023
Invoice #3304031                                                                                            Page:10


Disbursement Detail
Date          Description                                                                                 Amount
              hearing. - No receipt.
07/13/23      VENDOR: American Express INVOICE#: MARTIN081523 DATE:                                           6.00
              8/18/2023
              Expense Reimbursement - Amtrak Cafe car - Christmas Tree Shop
              hearing.
07/13/23      VENDOR: American Express INVOICE#: MARTIN081523 DATE:                                          23.00
              8/18/2023
              Expense Reimbursement - Parking fee in Newark to take Amtrak to DE for
              CTS Hearing.
                                                   TOTAL DISBURSEMENTS                                   $1,363.50




              TOTALS FOR THIS MATTER

                                                         Professional Services                            23,649.00
                                                               Disbursements                               1,363.50
                                 Total Professional Services & Disbursements                              25,012.50

                                  BALANCE DUE THIS INVOICE                                            $ 25,012.50

                                                       Previous Balance Due                              185,393.95

                         TOTAL AMOUNT DUE INCLUDING THIS INVOICE                                     $ 210,406.45




       ACCOUNTS RECEIVABLE

     INVOICE DATE            INVOICE NUMBER                       INVOICE TOTAL            OUTSTANDING BALANCE

        07/11/23                3300772                                155,724.43                         30,971.60
        07/11/23                3300773                                212,512.52                         41,838.60
        08/24/23                3303077                                112,583.75                        112,583.75
                         CURRENT BALANCE DUE                          $480,820.70                       $185,393.95
          Case 23-10576-TMH   Doc 641-2   Filed 09/15/23   Page 15 of 16




                       EXHIBIT B




7458365
           Case 23-10576-TMH         Doc 641-2      Filed 09/15/23       Page 16 of 16




                          Summary of Expenses for Monthly Period
                             August 1, 2023 – August 16, 2023

                           DISBURSEMENTS                                        AMOUNT
   a)Filing/Court Fees
          Payable to Clerk of Court. (Admission Fees)                              $0.00
   b) Computer Assisted Legal Research
          Westlaw, Lexis and a description of manner calculated.                   $0.00
   c) Pacer Fees
          Payable to the Pacer Service Center for search and/or print.             $0.00
   d) Fax (with rates)
          No. of Pages ____ Rate per Page ____ (Max. $1.00/pg.)                    $0.00
   e) Case Specific Telephone / Conference Call Charges
          Exclusive of overhead charges.                                           $0.00
   f) In-House Reproduction Services
          Exclusive of overhead charges.                                           $0.00
   g) Outside Reproduction Services
          Including scanning services.                                             $0.00
   h) Other Research
          Title searches, UCC searches, Asset searches, Accurint.                  $0.00
   i) Court Reporting / Deposition Services
          Transcripts.                                                             $0.00
   j) Travel
          Mileage, rolls, airfare and parking.                                   $1,354.00
   k) Courier & Express Carriers
          Overnight and personal delivery                                          $0.00
   l) Postage                                                                      $0.00
   m) Other (specify) – Business Meals                                             $9.50
                                          DISBURSEMENTS TOTAL:                   $1,363.50




7458365
